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                  UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION



 U.S. SECURITIES AND EXCHANGE
 COMMISSION,

                                  Plaintiff,

                       v.                         Civil Action No. _______


 STAR CHAIN, INC., and TIMUR EFE,                 JURY TRIAL
 a/k/a OMER CASURLUK,                             DEMANDED

                                  Defendants.



           COMPLAINT FOR INJUNCTIVE AND OTHER RELIEF

      Plaintiff, U.S. Securities and Exchange Commission (“Commission”), files

its Complaint and alleges that:

                                      SUMMARY

      1.     Beginning in approximately 2016, Defendant Timur Efe, a/k/a Omer

Casurluk (hereinafter “Casurluk”), a dual citizen of the Republic of Turkey and the

United States, and CEO and majority owner of Defendant Star Chain, Inc.

(hereinafter “Star Chain”) (collectively, the “Defendants”), operated an offering
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fraud that targeted Turkish immigrants to the United States, many of whom were

financially unsophisticated and spoke little English.

      2.     The Defendants, through 23 affiliated limited liability companies they

organized (the “US Star Companies”), raised approximately $9 million from

approximately 30 investors to acquire numerous quick-serve-restaurant franchises

(“QSRs”) in the Southeastern United States.

      3.     The Defendants made numerous misrepresentations to investors in

connection with their investments.

      4.     The Defendants frequently misrepresented their monetary interests in

the US Star Companies, by claiming that both Star Chain and the investors would

make substantial capital contributions to the companies.

      5.     In reality, the Defendants often made little or no capital contributions

to the US Star Companies, relying almost exclusively upon investors’ contributions

to fund the QSRs’ acquisition costs.

      6.      The Defendants frequently overstated the QSRs’ acquisition costs to

investors, and misrepresented investors’ ownership stakes in the US Star

Companies to the QSRs’ franchisors.

      7.     The Defendants altered and misrepresented the terms of the U.S. Star




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Companies’ operating agreements, and Casurluk induced investors, many of whom

had limited English skills, to sign them.

      8.     The Defendants failed to properly account for investors’ investments

in the US Star Companies, and Casurluk comingled and misappropriated investors’

funds earmarked for QSR acquisitions.

      9.     Star Chain, Casurluk and the US Star Companies eventually filed for

bankruptcy protection, and all of the US Star Companies wound down and

liquidated their assets. Star Chain and nearly all of the US Star Companies were

administratively dissolved in 2020.

      10.    Investors lost a substantial amount of money as a result of the

Defendants’ misconduct.

                                  VIOLATIONS

      11.    The Defendants engaged in, and, unless restrained and enjoined by

this Court, will continue to engage in, acts, practices, schemes, and courses of

business that constituted and will constitute violations of Sections 17(a)(1), (2)

and (3) of the Securities Act of 1933 (“Securities Act”) [15 U.S.C. § 77q(a)(1),

(2) and (3)], as well as Section 10(b) of the Securities Exchange Act of 1934




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(“Exchange Act”) [15 U.S.C. § 78j(b)] and Rules 10b-5(a), (b) and (c) thereunder

[17 C.F.R. § 240.10b-5(a), (b) and (c)].

                         JURISDICTION AND VENUE

       12.    The Commission brings this action pursuant to Sections 20 and 22 of

the Securities Act [15 U.S.C. §§ 77t and 77v] and Sections 21(d) and 21(e) of the

Exchange Act [15 U.S.C. § 78u(d), (e)] to enjoin the Defendants from engaging in

the transactions, acts, practices, and courses of business alleged in this Complaint,

and transactions, acts, practices, and courses of business of similar purport and

object, and for civil penalties and other equitable relief.

       13.    The Court has jurisdiction over this action pursuant to Section 22 of

the Securities Act [15 U.S.C. § 77v] and Sections 21(d), 21(e) and 27(a) of the

Exchange Act [15 U.S.C. §§ 78u(d), 78u(e) and 78aa(a)].

       14.    The Defendants, directly and indirectly, made use of the mails, the

means and instruments of transportation or communication in interstate

commerce, and the means and instrumentalities of interstate commerce in

connection with the transactions, acts, practices, and courses of business alleged

in this Complaint, and made use of the mails and means or instrumentality of




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interstate commerce to effect transactions, or to induce or to attempt to induce

the purchase or sale of securities alleged in this Complaint.

      15.    Certain of the transactions, acts, practices, and courses of business

constituting violations of the Securities Act and Exchange Act occurred in the

Northern District of Georgia. Moreover, Casurluk resides in, and Star Chain’s

principal place of business was located in, the Northern District of Georgia.

      16.    As such, venue is proper under Section 22 of the Securities Act [15

U.S.C. § 77v], Section 27 of the Exchange Act [15 U.S.C. § 78aa] and 28 U.S.C.

§ 1391.

      17.    The Defendants, unless restrained and enjoined by this Court, will

continue to engage in the transactions, acts, practices, and courses of business

alleged in this Complaint, and in transactions, acts, practices and courses of

business of similar purport and object.

                              THE DEFENDANTS

      18.    Timur Efe, a/k/a Omer Casurluk, age 41, resides in Alpharetta,

Georgia. Casurluk was the majority owner and CEO of Star Chain.

      19.    Star Chain, Inc., was organized in Georgia in 2016. Its principal

place of business was located in Roswell, Georgia.




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               THE DEFENDANTS’ OFFERING FRAUD SCHEME

         A.    Background

         20.   Casurluk, a Turkish national, moved to the United States in 2009 and

became the Executive Director of the Turkish American Chamber of Commerce

(“TACC”).

         21.   In August 2016, Casurluk founded Star Chain and used it as a vehicle

to own and operate QSRs, both as a sole owner and with investors. Casurluk also

established the US Star Companies, which were used as vehicles to seek investors

and acquire QSRs (i.e., Checker’s Drive-In Restaurants, Captain D’s Seafood

Kitchen, Which Wich Superior Sandwiches, and Yogli Mogli Self-Serve Yogurt

Bar).

         B.    The Investments in the US Star Companies

         22.   Between 2016 and 2018, the Defendants established 23 limited

liability US Star Companies. Each US Star Company had a different numeric name

based upon the order in which it was created (e.g., US Star 1, LLC; US Star 3, LLC;

US Star 4, LLC). Some of the US Star Companies were purportedly joint ventures

between Star Chain and third-party investors, whereas other unrelated (but similarly

named) US Star Companies were wholly owned by Star Chain.




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      23.    Casurluk met investors through his work at the TACC and by word-

of-mouth in the Turkish business community. Many of the investors believed that

Casurluk was assisting them with their investments as part of his duties at the

TACC.

      24.    The approximate $9 million that the Defendants raised from

approximately 30 investors was used to acquire over 40 QSRs.

      25.    The Defendants told investors that their investments in the US Star

Companies would result in joint ventures between them and Star Chain.

      26.    To participate, investors were required to provide funds equal to their

purported ownership interest in a US Star Company (typically between 25% and

50%), multiplied by the purported acquisition costs for the QSR(s) acquired by the

individual US Star Company. The investor was then supposed to obtain an

equivalent ownership interest in the US Star Company that was created for the

acquisitions of the QSRs.

      27.    Star Chain was supposed to provide the remainder of the acquisition

costs for the QSR(s) and obtain an equivalent ownership interest in the acquiring

US Star Company (typically between 50-75%).




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      28.    Casurluk instructed investors to wire their investment funds to a bank

account in Star Chain’s name, which he controlled.

      29.    Investors were not involved in the daily operations of the QSRs.

Rather, each QSR was to be operated by Star Chain (sometimes through a wholly-

owned subsidiary). In exchange for these services, Star Chain was to receive a 4%

fee of each QSR’s monthly revenue.

      30.    The Defendants provided operating agreements for the US Star

Companies to the investors who had an ownership interest in them.

      31.    The operating agreements said that investors could receive regular

reports concerning the operation of the US Star Companies in which they had an

ownership interest and could inspect the companies’ financial statements.

      32.    The Defendants later altered some of the operating agreements, after

they were signed by investors, to remove the investors’ ability to inspect the

financial statements. Some of the investors who tried to obtain the financial

statements were denied the ability to do so by the Defendants.

      C.     The Misrepresentations to Investors

      33.    The Defendants misled investors into believing that Star Chain would

make substantial capital contributions towards the acquisition costs of QSRs owned




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by the US Star Companies, and Defendants frequently misstated the costs to acquire

the QSRs to investors.

      34.    In fact, the Defendants often consummated QSR acquisitions using

investor funds only, with no or minimal capital contributions by Star Chain.

      35.    For example, in November 2017, Casurluk solicited and received an

investment from one investor for Checkers Drive-In franchises owned by US Star

19, LLC.

      36.    The operating agreement for US Star 19 reflected a $2.5 million

acquisition cost for the franchises, an equal (50/50) ownership structure for the

investor and Star Chain in the venture, and supposedly equal investments of $1.25

million from the investor and Star Chain towards the acquisition cost.

      37.    In reality, US Star 19 acquired the Checkers franchises for

approximately $1 million, using the investor’s contribution to fully fund the

acquisition. Star Chain contributed no funds towards this acquisition.

      38.    The Defendants also misrepresented the investors’ ownership stakes

in the respective US Star Companies.

      39.    After an investor made a capital contribution, the ownership shares of

the newly formed US Star Company were supposed to be divided between Star




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Chain and the investor as a percentage of their capital contributions towards a

particular acquisition.

      40.      Although Star Chain made little or no capital contributions towards

some of the acquisitions, the Defendants led investors to believe that it had done so

and obtained ownership interests in the US Star Companies nonetheless.

      41.      Furthermore, when the Defendants provided required ownership

documents to the QSRs’ franchisors, they often misrepresented that Star Chain and

its executives were the sole owners of the US Star Companies. The Defendants did

not list the investors as partial owners or otherwise identify them to the QSRs’

franchisors.

      42.      The Defendants did so in order to prevent investors from

communicating with the QSR franchisors and to conceal the nature and extent of

their fraudulent conduct from investors.

      43.      On at least one occasion in 2019, an investor contacted the franchisor

of a QSR in which he had invested to inquire about the restaurant’s operations. The

QSR franchisor informed him that it had no knowledge of him or his ownership

stake in the QSR.




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      44.    On at least one occasion, Casurluk modified an operating agreement

and forged an investor’s signature, which enabled him to borrow money using the

QSR as collateral without the investor’s knowledge.

      D.     The Misuse and Misappropriation of Investor Funds

      45.    Casurluk regularly misused investors’ capital contributions by

comingling the US Star Companies’ daily operating cash with Star Chain’s funds

and with the funds of unrelated businesses that he owned.

      46.    The comingled monies were used to fund any of the entities as needed

without a proper accounting, which resulted in the Defendants providing false

financial reports to the US Star Companies’ investors.

      47.    Casurluk regularly transferred investors’ funds to, and comingled

them with, Star Chain and its subsidiaries, other US Star Companies, his personal

accounts, and unrelated entities owned by him.

      48.    Casurluk also misled Star Chain’s CFO about the existence and

number of investors, the use of their funds, and investment amounts.

      49.    For example, on several occasions when large deposits appeared in

Star Chain’s bank accounts, Casurluk told the CFO that they were his capital

contributions, when in fact, they were investors’ capital contributions.




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      50.    By comingling investors’ contributions and operating funds, and by

failing to properly account for or advise investors about the comingling, the

Defendants failed to disclose that they had improperly mixed the funds of separate

businesses with separate owners.

      51.    The Defendants also improperly accounted for funds earmarked for

investments as operating capital.

      52.    For example, one investor contributed $200,000 for the purchase of a

20% interest in a Checker’s Drive-In franchise located near Augusta, Georgia.

However, the Defendants did not disclose to the investor that the deal had fallen

through. Instead, the Defendants retained the investor’s investment and used the

money to fund other Star Chain operations, without the investor’s knowledge or

consent.

      53.    Bank records reveal that Casurluk misappropriated more than $1

million in investors’ funds for his personal use.

      E.     Star Chain’s Demise and the Bankruptcy Proceedings

      54.    The Defendants’ fraud and mismanagement were major factors in Star

Chain’s demise. Star Chain was insolvent by August 2019.




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      55.       In October 2019, Star Chain, Casurluk and many of the US Star

Companies jointly filed for bankruptcy protection, pursuant to Chapter 11 of the

United States Bankruptcy Code. Casurluk later removed his personal bankruptcy

from the joint petition and converted it to a Chapter 7 proceeding.

      56.       In connection with the bankruptcy petitions and proceedings,

Casurluk threatened several investors that, if they hired attorneys and challenged

the proceedings, they would receive no money.

                                COUNT I – FRAUD

                 Violations of Section 17(a)(1) of the Securities Act
                               [15 U.S.C. § 77q(a)(1)]

      57.       Paragraphs 1 through 56 are hereby re-alleged and incorporated herein

by reference.

      58.       From in or about 2016 to 2020, the Defendants, in the offer and sale

of the securities described herein, by the use of means and instruments of

transportation and communication in interstate commerce and by use of the mails,

directly and indirectly, employed devices, schemes and artifices to defraud

purchasers of such securities, all as more particularly described above.

      59.       The Defendants knowingly, intentionally, and/or recklessly engaged

in the aforementioned devices, schemes and artifices to defraud.



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      60.       While engaging in the course of conduct described above, the

Defendants acted with scienter, that is, with an intent to deceive, manipulate, or

defraud, or with a severely reckless disregard for the truth.

      61.       By reason of the foregoing, the Defendants, directly and indirectly,

have violated and, unless enjoined, will continue to violate Section 17(a)(1) of the

Securities Act [15 U.S.C. § 77q(a)(1)].

                                COUNT II – FRAUD

       Violations of Sections 17(a)(2) and 17(a)(3) of the Securities Act
                    [15 U.S.C. §§ 77q(a)(2) and 77q(a)(3)]

      62.       Paragraphs 1 through 56 are hereby re-alleged and incorporated herein

by reference.

      63.       From in or about 2016 to 2020, the Defendants, in the offer and sale

of the securities described herein, by the use of means and instruments of

transportation and communication in interstate commerce and by use of the mails,

directly and indirectly:

            a. obtained money and property by means of untrue statements of

                material fact and omissions to state material facts necessary in order

                to make the statements made, in light of the circumstances under

                which they were made, not misleading; and



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             b. engaged in transactions, practices and courses of business which

                would and did operate as a fraud and deceit upon the purchasers of

                such securities, all as more particularly described above.

       64.      By reason of the foregoing, the Defendants, directly and indirectly,

have violated and, unless enjoined, will continue to violate Sections 17(a)(2) and

17(a)(3) of the Securities Act [15 U.S.C. §§ 77q(a)(2) and 77q(a)(3)].

                                COUNT III – FRAUD

 Violations of Section 10(b) of the Exchange Act and Rule 10b-5 Thereunder
          [15 U.S.C. § 78j(b); 17 C.F.R. § 240.10b-5(a), (b) and (c)]

       65.      Paragraphs 1 through 56 are hereby re-alleged and incorporated herein

by reference.

       66.      From in or about 2016 to 2020, the Defendants, in connection with the

purchase or sale of securities described herein, by the use of the means and

instrumentalities of interstate commerce and by the use of the mails, directly and

indirectly:

             a. employed devices, schemes, and artifices to defraud;

             b. made untrue statements of material facts and omitted to state

                material facts necessary in order to make the statements made, in




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               light of the circumstances under which they were made, not

               misleading; and

            c. engaged in acts, practices, and courses of business which would and

               did operate as a fraud and deceit upon the purchasers of such

               securities, all as more particularly described above.

      67.      The Defendants knowingly, intentionally, and/or recklessly engaged

in the aforementioned devices, schemes, and artifices to defraud, made untrue

statements of material facts and omitted to state material facts, and engaged in

fraudulent acts, practices, and courses of business. In engaging in such conduct,

the Defendants acted with scienter; that is, with an intent to deceive, manipulate, or

defraud or with a severely reckless disregard for the truth.

      68.      By reason of the foregoing, the Defendants, directly and indirectly,

have violated and, unless enjoined, will continue to violate, Section 10(b) of the

Exchange Act [15 U.S.C. § 78j(b)] and Rule 10b-5 thereunder [17 C.F.R.

§ 240.10b-5].




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      WHEREFORE, the Commission seeks the following relief:

                                         I.

      Findings of fact and conclusions of law, pursuant to Rule 52 of the Federal

Rules of Civil Procedure, finding that the Defendants committed the violations

alleged herein.

                                         II.

      Permanent injunctions enjoining the Defendants, their officers, directors,

agents, servants, employees, and attorneys from violating, directly or indirectly,

Sections 17(a)(1), (2) and (3) of the Securities Act [15 U.S.C. § 77q(a)(1), (2) and

(3)] and Section 10(b) of the Exchange Act [15 U.S.C. § 78j(b)] and Rules 10b-

5(a), (b) and (c) thereunder [17 C.F.R. § 240.10b-5(a), (b) and (c)].

                                        III.

      An order requiring the disgorgement by the Defendants of all ill-gotten gains

or unjust enrichment with prejudgment interest, to effect the remedial purposes of

the federal securities laws.




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                                          IV.

       An order pursuant to Section 20(d) of the Securities Act [15 U.S.C.

§ 77t(d)] and Section 21(d)(3) of the Exchange Act [15 U.S.C. § 78u(d)(3)]

imposing civil penalties against the Defendants.

                                           V.

       Such other and further relief as this Court may deem just, equitable, and

appropriate in connection with the enforcement of the federal securities laws and

for the protection of investors.

                          DEMAND FOR JURY TRIAL

       Pursuant to Rule 38 of the Federal Rules of Civil Procedure, the Commission

demands trial by jury in this action of all issues so triable.

Dated this 24th day of September 2021.

                                          Respectfully submitted,

                                          /s/ M. Graham Loomis
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